            3:23-cv-03299-MMM-JEH # 1        Filed: 10/19/23   Page 1 of 15




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                         SPRINGFIELD DIVISION

BRODIE BROZAK, individually and on
behalf of all those similarly situated,

    Plaintiff,
                                                No. 3:23-cv-3299
           v.

LATOYA HUGHES, in her official
capacity as Director of the Illinois
Department of Corrections, DAWN
SCROGGINS and JENNICA SEFTON,
in their individual capacities,

    Defendants.

                          CLASS ACTION COMPLAINT

   Plaintiff Brodie Brozak, through counsel, individually and on behalf of all those

similarly situated, complains against Defendants Latoya Hughes, Director of the

Illinois Department of Corrections; Dawn Scroggins, former Supervisor of the

Records Office at Graham Correctional Center; and Jennica Sefton, current

Supervisor of the Records Office at Graham Correctional Center, as follows:

                                Nature of the Case

   1.   This case arises under 42 U.S.C. §1983 and alleges violations of Plaintiff’s

rights under the Eighth and Fourteenth Amendments of the United States

Constitution.

   2.   Plaintiff, individually and on behalf of other similarly situated, challenges

the constitutionality of the Illinois Department of Corrections’ policy regarding the

calculation of the length of time individuals in Department custody are required to
                3:23-cv-03299-MMM-JEH # 1          Filed: 10/19/23   Page 2 of 15




serve on Mandatory Supervised Release (“MSR”). Specifically, Plaintiff alleges that

Defendant Illinois Department of Corrections has an official policy whereby it has

empowered the Supervisors of its Records Offices to unilaterally change the length

of time an individual is required to serve on MSR if they believe the MSR term

imposed by the sentencing court is wrong or inconsistent with law. This official

policy results in Records Office Supervisors’ changing sentences imposed by the

courts in accordance with their own interpretation of Illinois law without providing

the person in custody any notice or opportunity to be heard before his or her term of

MSR is changed.

   3.       This policy and its application to Plaintiff and others similarly situated

violates the constitution in at least three ways:

        •     It leads to their being held in Department custody beyond the time they
              were sentenced to serve in violation of the Eighth Amendment’s cruel and
              unusual punishment clause;

        •     It violates procedural due process under the Fourteenth Amendment
              because the change in the individual’s sentence is carried out unilaterally
              by the Records Office without providing the person any notice or
              opportunity to contest the change in their sentence; and

        •     It violates substantive due process under the Fourteenth Amendment
              because it deprives them of the benefit of the bargain when they have
              entered into a negotiated plea where one of the terms is a particular
              length of time to be served on Mandatory Supervised Release.

   4.       Plaintiff, individually and on behalf of all others similarly situated, seeks an

injunction prohibiting Defendant Hughes from continuing the policy of unilaterally

changing MSR terms imposed by a sentencing court.




                                               2
            3:23-cv-03299-MMM-JEH # 1           Filed: 10/19/23   Page 3 of 15




   5.   Plaintiff Brodie Brozak also seeks compensatory damages against

Defendants Dawn Scroggins and Jennica Sefton, the individuals personally

responsible for unlawfully amending his MSR term and, after being given notice of

the matter, for refusing to change it back to the sentence imposed by the sentencing

court, which resulted in Plaintiff serving additional time in Department custody.

                               Jurisdiction and Venue

   6.   Jurisdiction for Plaintiff’s federal claims is based on 28 U.S.C. §§1331 and

1343(a).

   7.   Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), in that a

substantial part of the events giving rise to Plaintiff’s claims arose in this district.

                                      The Parties

   8.   Defendant Latoya Hugues is sued in her official capacity as director of the

Illinois Department of Corrections. In her capacity as the director of the IDOC, she

has final authority to set the Department’s policies regarding enforcement of court-

ordered MSR terms and/or the amendment of such terms by Department officials.

   9.   Defendant Dawn Scroggins was the Supervisor of the Records Office at

Graham Correctional Center for the time period of October 2015 until December

2021. She is sued in her individual capacity for violations of Plaintiff Brozak’s

constitutional rights.

   10. Defendant Jennica Sefton is the Supervisor of the Records Office at Graham

Correctional Center and has had that title from December 2021 to present. She is




                                            3
            3:23-cv-03299-MMM-JEH # 1          Filed: 10/19/23   Page 4 of 15




sued in her individual capacity for violations of Plaintiff Brozak’s constitutional

rights.

   11. Plaintiff Brodie Brozak is a resident of Henry, Illinois. He is currently being

held in the custody of the Illinois Department of Corrections on Mandatory

Supervised Release beyond the time he was sentenced to serve due to the unlawful

and unconstitutional actions of Defendants.

                Relevant Principles of Illinois Sentencing Law

   12. The Illinois constitution provides that “[t]he legislative, executive and

judicial branches are separate [and] no branch shall exercise powers properly

belonging to another.” Ill. Const. Art. II, §1. The imposition of a sentence on a

criminal defendant is a function “within the inherent power of the judiciary.” People

v. Williams, 66 Ill. 2d 179, 186 (1977).

   13. Under Illinois law, persons convicted of felonies and sentenced to serve time

in the Illinois Department of Corrections (with the exception of those sentenced to

natural life imprisonment), are given two separate sentences: (1) a term of

imprisonment; and (2) a term of post-incarceration community supervision called

“Mandatory Supervised Release.” People v. Artis, 902 N.E.2d 677, 679 (Ill. 2009);

730 ILCS 5/3-3-3(c); see also People v. O’Connell, 2015 IL App (3d) 130739-U, ¶ 17

(Ill. App. 2015) (explaining that a criminal sentence under Illinois law “consists of

two separate parts: a period of imprisonment, and a period of MSR.”).

   14. The length of time an individual must serve on MSR is determined by

statute. See 730 ILCS 5/5-8-1(d). As relevant to this case, the term of MSR for a




                                           4
            3:23-cv-03299-MMM-JEH # 1          Filed: 10/19/23   Page 5 of 15




conviction for Criminal Sexual Assault committed on or after December 13, 2005,

“shall range from a minimum of three years to a maximum of the natural life of the

defendant.” 730 ILCS 5/5-8-1(d)(4). During the time period relevant to this case, the

term of MSR for a conviction for Criminal Sexual Abuse was two years. People v.

Denis, 2018 IL App (1st) 151892, ¶ 92 (citing 730 ILCS 5/5-8-1(d)(2) (West 2014)).

   15. Under the law in effect during the time period relevant to this case, criminal

court judges were required to set forth in their sentencing orders the amount of

time the person being sentenced would be required to serve on MSR. 730 ILCS 5/5-

8-1(d) (West 2015); Public Act 97-531 (effective January 1, 2012) (the MSR term

“shall be written as part of the sentencing order and shall be as follows ...”). The

Illinois Supreme Court has explained that this “requires that the court explicitly

write the applicable MSR term into the order.” People v. McChriston, 2014 IL

115310, ¶¶ 18-19.

   16. Absent the filing of a timely post-judgment motion, a sentencing court loses

subject matter jurisdiction to reconsider and modify a sentencing order 30 days

after entry of the judgment. People v. Bailey, 2014 IL 115459, ¶¶ 8, 14. Although the

court may maintain power to perform “ministerial acts” related to the case, once it

has been divested of subject matter jurisdiction, the court lacks power to modify the

sentence it imposed on the defendant. See People v. Lake, 2020 IL App (1st) 170309,

¶¶ 15-16 (circuit court lacked jurisdiction to increase defendant’s MSR term once 30

days had passed since defendant pleaded guilty and was sentenced).




                                           5
            3:23-cv-03299-MMM-JEH # 1         Filed: 10/19/23   Page 6 of 15




   17. Thus, if an MSR period imposed by a sentencing judge is determined to be

contrary to law (e.g., does not conform to the statutory requirements) after the

expiration of the 30-day period, the sentencing court lacks jurisdiction to modify the

judgment. Where courts have attempted to enter orders modifying an MSR term

outside of the 30-day period following entry of judgment, the Illinois Supreme Court

has held that the modified sentencing order is void and must be vacated, and the

original sentence must be reinstated. See People v. Abdullah, 2019 IL 123492, ¶¶

32-35 (holding that because defendant’s sentence was increased after the circuit

court lost jurisdiction to modify the sentence, that order must be vacated and the

original sentence reinstated).

   18. The Illinois Supreme Court has instructed that after the 30-day timeframe

has elapsed, the only proper means by which the state may challenge a sentence it

believes does not conform to statute is via a writ of mandamus to the Illinois

Supreme Court. People v. Castleberry, 2015 IL 116916, ¶¶ 26-27. Thus, if the state

believes that an MSR term imposed by a judge was improper and seeks to change it,

it must seek mandamus relief. Id. Otherwise, the original sentence stands.

                    Relevant Facts Pertinent to Mr. Brozak

   19. In 2015, Mr. Brozak was charged in the Circuit Court of the 10th Illinois

Judicial Circuit, Marshall County, Illinois, with five counts of Criminal Sexual

Assault and five counts of Criminal Sexual Abuse. The case number was 15-CF-27.

   20. On the State’s motion, the charges of Criminal Sexual Assault were

dismissed. After negotiating a plea with the state, Mr. Brozak pleaded guilty to




                                          6
            3:23-cv-03299-MMM-JEH # 1          Filed: 10/19/23   Page 7 of 15




Criminal Sexual Abuse on February 24, 2016. The court accepted the terms of the

negotiated plea and sentenced Mr. Brozak to 450 days of incarceration (which he

had already served in pre-trial detention in the Marshall County Jail) and 48

months of probation. This disposition is reflected in the charging documents, the

plea and a sentencing Order signed by Judge Michael P. McCusky on February 24,

2016. See Exhibit 1, 15-CF-27 charging documents, plea and sentencing order.

   21. While Mr. Brozak was on probation, he was alleged to have had contact with

the victim of his original offense in violation of the terms of his probation. The state

filed a petition to revoke his probation. See Exhibit 2, Petition to Revoke Probation.

   22. In addition to seeking to revoke his probation, the state charged Mr. Brozak

with Criminal Sexual Abuse and violation of an order of protection in case number

17-CF-29. These charges arose from the same conduct that led to the petition to

revoke probation.

   23. After negotiating with the state, Mr. Brozak agreed to plead guilty to

Criminal Sexual Abuse and violation of an order of protection in exchange for a

sentence of five years in the Illinois Department of Corrections followed by two

years of MSR. Judge Stephen A. Kouri accepted the terms of the negotiated plea

and entered sentencing orders in 15-CF-27 and 17-CF-29. Judge Kouri sentenced

Mr. Brozak to serve five years in the IDOC and two years on MSR, to run

concurrently in both cases. See Exhibit 3, Order and Dispositions in 17-CF-29;

Exhibit 4, Transcript of January 17, 2018, Sentencing Hearing; Exhibit 5, January




                                           7
              3:23-cv-03299-MMM-JEH # 1        Filed: 10/19/23   Page 8 of 15




17, 2018, Judgment in 15-CF-27; Exhibit 6, January 17, 2018, Judgment in 17-CF-

29.

      24. The judgment entered in 15-CF-27 contains a scriveners’ error. In

particular, it erroneously reflects that Mr. Brozak was also convicted of Criminal

Sexual Assault in the original 2015 case. See Exhibit 5, January 17, 2018,

Judgment in 15-CF-27. However, Mr. Brozak was not convicted of Criminal Sexual

Assault in 2015, which is clear from the relevant documents in the 2015 case,

including the plea, the dispositions reflected on the court docket, and the transcript

of the sentencing hearing. The charges of Criminal Sexual Assault were dismissed

on the State’s motion more than two years prior to entry of the sentencing orders.

See Exhibits 1-6.

      25. After entry of judgment by the sentencing court in both 15-CF-27 and 17-

CF-29, Mr. Brozak was remanded to the custody of the Illinois Department of

Corrections to serve his sentence of incarceration and MSR. He served his term of

incarceration in Graham Correctional Center.

      26. Shortly before Mr. Brozak’s release from prison on October 14, 2021, he

received a sentencing calculation sheet from the records office at Graham

Correctional Center reflecting that his MSR term had been changed from two years,

which was the amount of time reflected in his plea agreement and the court’s

sentencing order, to “three-years-to-natural life.” On information and belief, the

MSR term was changed by or at the direction of Dawn Scroggins, who was the




                                           8
           3:23-cv-03299-MMM-JEH # 1         Filed: 10/19/23   Page 9 of 15




Records Office Supervisor for Graham Correctional Center at the time of Mr.

Brozak’s release from prison onto MSR in October 2021.

   27. As Mr. Brozak approached the completion of his two-year MSR term, Mr.

Brozak and his counsel sought to correct the error made by Ms. Scroggins by

speaking with Jennica Sefton, the current Records Office Supervisor for Graham

Correctional Center.

   28. Mr. Brozak and his counsel attempted to provide to Ms. Sefton the relevant

documents from Mr. Brozak’s criminal case that demonstrated that he was not

sentenced to three-years-to-natural-life on MSR. Ms. Sefton refused to look at these

documents. She stated that she was “correct” that Mr. Brozak has three years to life

on MSR and asserted that the Department would not reconsider its decision to

change Mr. Brozak’s MSR term from two years to three years to life.

   29. The General Counsel of the Illinois Department of Corrections, Robert

Fanning, confirmed in writing that the Department unilaterally changed Mr.

Brozak’s MSR term from two years to three years to life based on its own

interpretation of Illinois law rather than an amended sentencing order entered by

any court. In particular, the Department believes that the sentencing court should

have imposed a three-to-life MSR term on Mr. Brozak based on the order entered in

15-CF-27, which erroneously reflects that Mr. Brozak was convicted of Criminal

Sexual Assault. See Exhibit 7 (October 2023 correspondence with Robert Fanning

confirming that the IDOC decided to impose the three-to-life term on Mr. Brozak




                                         9
               3:23-cv-03299-MMM-JEH # 1        Filed: 10/19/23   Page 10 of 15




based on its interpretation of relevant Illinois law without authorization from any

court).

   30. This correspondence confirms that it is the Department’s policy to empower

its Records Offices to override sentencing orders entered by judges if it believes they

are wrong.

   31. In this case, the Department’s interpretation of what sentence Mr. Brozak

should have received is wrong. However, even if it were right, the Department lacks

legal authority to change the MSR term imposed by a sentencing court.

   32. Mr. Brozak should have been discharged from Department custody on or

about October 14, 2023, upon completion of his two-year MSR term. Instead, he

remains unlawfully subject to Department custody beyond the time he was

sentenced to serve.

   33. Because he remains on MSR, Mr. Brozak is subject to substantial

deprivations of his liberty, including but not limited to the following:

          •   A requirement to wear a GPS ankle monitor (730 ILCS 5/3-3-7 (a)(7.7);
              (17));

          •   Mandatory attendance at sex offender therapy for which he must pay a
              weekly fee (730 ILCS 5/3-3-7 (a)(7.5));

          •   Polygraph examinations for which he must pay a fee (730 ILCS 5/3-3-7 (b-
              1)(16));

          •   Restrictions on using the Internet (730 ILCS 5/3-3-7 (b)(7.6)–(7.9); (7.11),
              (7.12));

          •   Restrictions on accepting employment, enrolling in school, or changing his
              residence without the prior approval of a parole agent (730 ILCS 5/3-3-7
              (a)(9); (b-1)(4));




                                              10
               3:23-cv-03299-MMM-JEH # 1       Filed: 10/19/23   Page 11 of 15




         •    Searches of his person, property, and residence (730 ILCS 5/3-3-7 (a)(10));

         •    A prohibition on visiting any private residence without approval of his
              parole agent (730 ILCS 5/3-3-7(b-1)(7)); and

         •    A prohibition on leaving the state without advance permission (730 ILCS
              5/3-3-7 (a)(9)).

                                     Class Allegations

   34. Pursuant to Fed. R. Civ. P. 23(b)(2), Plaintiff seeks certification of this

complaint as a class action for purposes of equitable relief on behalf of a class

defined as follows.

     •       All individuals currently or in the future in the custody of the Illinois
             Department of Corrections whose sentences include a term of MSR imposed
             by an Illinois court.

   35. The class seeks a declaration that the Department’s policy of empowering

Records Office supervisors to change the amount of time an individual must serve

on MSR in contradiction of an order entered by a sentencing judge is

unconstitutional and an injunction prohibiting continued enforcement of the policy.

   36. The proposed class is numerous. It includes not only the 20,000-plus persons

currently in IDOC custody on felony sentences, but also as yet unknown future

members of the proposed class—i.e., persons who in the future will be in IDOC

custody on MSR and subject to the unlawful policy. This is so notwithstanding the

fact that not all members of the proposed class will be injured by the

unconstitutional policy (i.e., the Department does not change every person’s MSR

term). See Kohen v. Pac. Inv. Mgmt. Co. LLC, 571 F.3d 672, 677 (7th Cir. 2009)

(holding that it is “almost inevitable” that a class will “include persons who have not




                                             11
              3:23-cv-03299-MMM-JEH # 1       Filed: 10/19/23   Page 12 of 15




been injured by the defendant’s conduct,” and “[s]uch a possibility or indeed

inevitability does not preclude class certification.”)

   37.       There are questions of law and fact common to all class members,

including but not limited to the following:

         •   What is the Department’s policy regarding amendment of MSR terms
             imposed by a sentencing court?

         •   Does the Department have legal authority to change the amount of time
             an individual must serve on MSR without authorization from a sentencing
             court?

         •   Whether the Department’s policy violates the Eighth Amendment and/or
             Fourteenth Amendment.

   38. All individuals falling within the class definition are subject to the same

policy. Given the commonality of the questions pertinent to all class members, a

single injunction would provide relief to each member of the class.

   39. Defendant Hughes has acted and continues to act in a manner adverse to

the rights of the proposed class, making final declaratory relief appropriate with

respect to the class as a whole.

   40. The named Plaintiff will fairly and adequately represent the interests of the

class; and the named Plaintiff’s claim is typical of the claims of all members of the

proposed class.

   41. Plaintiff’s counsel has extensive experience and has devoted substantial

professional and financial resources to representing individuals on MSR in Illinois,

including numerous class action cases on behalf of persons on MSR. See, e.g.,

Montoya v. Jeffreys, 18-cv-1991 (N.D. Ill.) (challenge to MSR policies imposed by the




                                           12
            3:23-cv-03299-MMM-JEH # 1       Filed: 10/19/23   Page 13 of 15




Department); Tucker v. Jeffreys, 18-cv-3154 (N.D. Ill.) (same); Barnes v. Jeffreys, 21-

cv-2137 (N.D. Ill.) (same). Plaintiff’s counsel will fairly and adequately represent

the interests of the class.

                                     COUNT I
                     42 U.S.C. §1983 – EIGHTH AMENDMENT

   42. Plaintiff realleges and reincorporates, as though fully set forth herein, each

and every allegation contained above.

   43.    Failure to release a person from custody after the completion of his

sentence violates the Eighth Amendment where, as here, the Defendants have acted

with deliberate indifference to the rights of the individual. Campbell v. Peters, 256

F.3d 695 (7th Cir. 2001).

   44. The Department’s policy of unilaterally altering the MSR terms imposed by

sentencing courts without authorization from a sentencing judge violates the Eighth

Amendment as applied to Plaintiff and the members of the proposed class because it

leads to their being held in custody beyond the time they were sentenced to serve.

                                   COUNT II
                42 U.S.C. §1983 – PROCEDURAL DUE PROCESS

   45. Plaintiff realleges and reincorporates, as though fully set forth herein, each

and every allegation contained above.

   46. It is well established that due process requires that a defendant in a

criminal case must be “given adequate notice” of a sentencing hearing, an

opportunity to be heard, and an “opportunity to contest the facts relied upon to




                                          13
           3:23-cv-03299-MMM-JEH # 1        Filed: 10/19/23   Page 14 of 15




support the imposed criminal penalty.” United States v. Freeman, 815 F.3d 347, 355

(7th Cir. 2016).

   47. The Department’s policy of unilaterally altering individuals’ MSR sentences

without notice, a hearing, or the opportunity for an individual to contest the

Department’s determination of what the MSR sentence should be violates

procedural due process under the Fourteenth Amendment.

                                  COUNT III
               42 U.S.C. §1983 – SUBSTANTIVE DUE PROCESS

   48. Plaintiff realleges and reincorporates, as though fully set forth herein, each

and every allegation contained above.

   49. It is well established that contract principles apply to negotiated pleas.

Where, as here, an individual is induced to enter a guilty plea, thereby giving up

the right to a trial and other constitutional protections, a subsequent change to the

terms of the negotiated plea violates the right to substantive due process under the

Fourteenth Amendment. See Santobello v. New York, 404 U.S. 257, 262 (1971)

(“[W]hen a plea rests in any significant degree on a promise or agreement of the

prosecutor, so that it can be said to be part of the inducement or consideration, such

promise must be fulfilled.”)

   50. The Department’s policy of overriding sentencing orders entered by criminal

court judges based on negotiated plea agreements deprives Plaintiff and others

similarly situated of substantive due process.




                                          14
            3:23-cv-03299-MMM-JEH # 1       Filed: 10/19/23   Page 15 of 15




WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

      (a)    certify that this case may be maintained as a class action under Fed.
             R. Civ. P. 23(b)(2) against Defendant Hughes;

      (b)    grant an injunction providing two forms of relief against Defendant
             Hughes: (1) prohibiting the Department of Corrections from continuing
             its unlawful practice of unilaterally changing MSR terms imposed by
             sentencing courts; and (2) for all persons whose MSR terms were
             changed pursuant to the challenged policy, restoring their MSR terms
             to the sentences imposed by the sentencing court;

      (c)    issue a declaratory judgment that the Department of Corrections’
             policy of unilaterally changing MSR terms imposed by sentencing
             courts is unconstitutional both on its face and as applied to Plaintiff
             and those similarly situated;

      (d)    award Plaintiff Brodie Brozak compensatory damages against
             Defendants Dawn Scroggins and Jennica Sefton for violations of his
             constitutional rights;

      (e)    enter judgment for reasonable attorney’s fees and costs incurred in
             bringing this action; and

      (f)    grant Plaintiff and the members of the class any other relief the Court
             deems appropriate.

                                               Respectfully submitted,

                                               /s/ Adele D. Nicholas
                                               /s/ Mark G. Weinberg
                                               Counsel for Plaintiff

Law Office of Adele D. Nicholas
5707 W. Goodman Street
Chicago, Illinois 60630
(847) 361-3869
adele@civilrightschicago.com

Law Office of Mark G. Weinberg
3612 N. Tripp Avenue
Chicago, Illinois 60641
(773) 283-3913
mweinberg@sbcglobal.net



                                          15
